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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

United States of America,
Plaintiff,

VS.

1. Corey Webster Newkirk,
2. Gabriel Mario Morales, and

3, Jesus Humberto Barrera Estrada,

Defendants.

 

 

THE GRAND JURY CHARGES:

No.

VIO:

COUNT I

CR-18-00882-PHX-DLR (ESW)

INDICTMENT

18 U.S.C. §§ 1201(c) and 2
(Conspiracy to Commit Interstate
Kidnapping and Aid and Abet)
Count 1

18 U.S.C. §§ 1201(a)(1) and 2
(Interstate Kidnapping and Aid and
Abet)

Count 2

18 U.S.C. §§ 924(c)(1)(A) and 2

(Possession/Use of a Firearm in a
Crime of Violence and Aid and
Abet)

Count 3

18 U.S.C. §§ 2261A(1) and 2
(Interstate Stalking and Aid and
Abet)

Count 4

18 U.S.C. §§ 924(d) and 981,
21 U.S.C. § 853, and

28 U.S.C. § 2461(c)
(Forfeiture Allegation)

Beginning on or about May 27, 2018, and continuing to on or about June 5, 2018,

in the District of Arizona, Defendants COREY WEBSTER NEWKIRK, GABRIEL
MARIO MORALES, and JESUS HUMBERTO BARRERA ESTRADA knowingly and

 

 
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intentionally conspired and agreed to commit the following offense against the United
States of America: Interstate Kidnapping, in violation of Title 18, United States Code,
Section 1201(a)(1), as charged in Count 2.
METHOD AND MEANS OF THE CONSPIRACY

It was a part of the conspiracy that the defendants would unlawfully kidnap, abduct,
seize, confine, inveigle, carry away, and hold for ransom, reward, or otherwise, K.C.S.,
and intentionally transport K.C.S. across state lines.

OVERT ACTS

In furtherance of the aforesaid conspiracy, and to effect the objects of the
conspiracy, Defendants COREY WEBSTER NEWKIRK, GABRIEL MARIO
MORALES, and JESUS HUMBERTO BARRERA ESTRADA performed and caused to
be performed, among others, the following overt acts, on or between May 27, 2018, and
June 5, 2018:

a. The three defendants surveilled K.C.S. and her family at her mother’s residence in
Palmdale, California;

b. Before leaving the Phoenix area on or about May 28, 2018, Defendant NEWKIRK
drove victim K.C.S.’s vehicle, with MORALES and BARRERA ESTRADA riding
as passengers, around Scottsdale and Tempe to obtain items to facilitate their plan;

c. One place the three defendants drove was to an alley in Scottsdale, Arizona, where
Defendant MORALES retrieved a hidden Torres PT22 handgun, which was later
determined to be stolen;

d. Defendant MORALES loaded the gun in the presence of Defendants NEWKIRK
and BARRERA ESTRADA;

e. The three defendants discussed their decision to have the gun for their safety in the
event their plan became jeopardized;

f. On or about May 28, 2018, the three defendants drove approximately 400 miles
from Scottsdale, Arizona, to Palmdale, California, to stalk and kidnap K.C.S.;

g. To facilitate their plan, the three defendants visited multiple stores in Arizona and

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California, including Big 5 Sporting Goods, AutoZone, and HomeDepot, to obtain
items for their conspiracy;

The three defendants shoplifted or purchased bear mace, pepper spray, respirators,
a knife, and binoculars;

Once in the Los Angeles area, the three defendants also purchased a GPS tracker
from SpyShopOne in Sherman Oaks, California;

The three defendants learned how to track the GPS device through the website
“mytkstar.net’;

The three defendants used two iPhones to facilitate their communication during the
timeframe of the conspiracy;

The three defendants lived out of K.C.S.’s car, which they parked in her mother’s
residential neighborhood in Palmdale, California, and played various roles relevant
to the surveillance of K.C.S. and her family, such as driver, lookout, and records
researcher;

The three defendants utilized various smartphone applications to facilitate their
surveillance of K.C.S., her family members, and various vehicles or individuals
who came into contact with her mother’s residence;

The three defendants went to an Enterprise rental car location in Palmdale,
California, to inspect and research a Chevy Camaro similar to the one K.C.S.’s
mother drove;

On May 31, 2018, Defendant MORALES physically placed the GPS tracker on
K.C.S.’s mother’s Chevy Camaro;

The group agreed Defendant BARRERA ESTRADA would use his cell phone to
monitor the “mytkstar.net” website and application to track the movement of the
Camaro;

The three discussed a plan to follow K.C.S. and her family to an Applebee’s in
Palmdale, California, on June 4, 2018, the evening of K.C.S. and her twin sister’s

birthday celebration;

 

 
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On the evening of June 4, 2018, the three defendants confirmed, through the GPS
tracker, that K.C.S.’s mother’s vehicle was parked outside the Applebee’s;

. The three defendants practiced escape routes from the Applebee’s parking area;

When K.C.S., her mother, her sister, two minor foster siblings, and an adult male
family friend exited the restaurant, the three defendants, each armed with a can of
mace or pepper spray, approached and sprayed the group, causing discomfort and

confusion;

. Defendant BARRERA ESTRADA physically restrained K.C.S. and with

Defendant NEWKIRK’s assistance, forcefully pushed her into the backseat of her
car, which Defendant NEWKIRK had parked and had waiting nearby;

. Once K.C.S. and the three defendants were in the vehicle, Defendant NEWKIRK

drove off at a high rate of speed, and Defendant BARRERA ESTRADA sat on top

of K.C.S. in the backseat to prevent her from moving;

. During the drive back to Arizona, Defendant NEWKIRK, along with the other two

defendants, activated the child-lock safety feature on K.C.S.’s rear passenger door

so she could not leave;

. In the early morning hours of June 5, 2018, the three defendants stopped for gas at

a Flying J Travel Center in Ehrenberg, Arizona;

. In Quartzsite, Arizona, a local police officer pulled over the vehicle, at which time

Defendant NEWKIRK told K.C.S. she better not say anything about what was
going on.
In violation of Title 18, United States Code, Sections 1201(c) and 2.
COUNT 2
On or between June 4, 2018, and June 5, 2018, in the District of Arizona, Defendants

COREY WEBSTER NEWKIRK, GABRIEL MARIO MORALES, and JESUS
HUMBERTO BARRERA ESTRADA unlawfully kidnapped, abducted, seized, confined,
inveigled, carried away, and held for ransom, reward, or otherwise, K.C.S., and

intentionally transported K.C.S. across state lines.

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In violation of Title 18, United States Code, Sections 1201(a)(1) and 2.
COUNT 3

On or between May 27, 2018, and June 5, 2018, in the District of Arizona,
Defendants COREY WEBSTER NEWKIRK, GABRIEL MARIO MORALES, and
JESUS HUMBERTO BARRERA ESTRADA, knowingly used and carried a firearm
during and in relation to a crime of violence, and knowingly possessed a firearm in
furtherance of a crime of violence, that is Interstate Kidnapping, a felony crime
prosecutable in a Court of the United States, as alleged in Count 2 of this Indictment.

In violation of Title 18, United States Code, Sections 924(c)(1)(A) and 2.

COUNT 4

On or between May 27, 2018, and June 5, 2018, in the District of Arizona and
elsewhere, Defendants COREY WEBSTER NEWKIRK, GABRIEL MARIO MORALES,
and JESUS HUMBERTO BARRERA ESTRADA traveled in interstate commerce from
Scottsdale, Arizona, to Palmdale, California, with the intent to place under surveillance
with intent to kill, injure, harass, and intimidate another person, K.C.S., and in the course
of and as a result of such travel, placed that person in reasonable fear of the death of, or
serious bodily injury, or caused substantial emotional distress to, that person and a member
of the immediate family of that person.

In violation of Title 18, United States Code, Sections 2261A(1) and 2.

FORFEITURE ALLEGATION

The allegations contained in Counts 1-4 of this Indictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeitures pursuant to Title 18,
United States Code, Section 924(d) and Title 28, United States Code, Section 2461(c).

Upon conviction for any offense set forth in this Indictment, Defendants COREY
WEBSTER NEWKIRK, GABRIEL MARIO MORALES, and JESUS HUMBERTO
BARRERA ESTRADA shall forfeit to the United States pursuant to Title 18, United States
Code, Section 924(d) and Title 28, United States Code, Section 2461(c), any and all

firearms, ammunition, ahd various property involved in or used in commission of the

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offense, including, but not limited to: one (1) Taurus PT-22 .22 caliber handgun (SN
Z000837) and one (1) or more rounds of .22 caliber ammunition.

If any of the property described above, as a result of any act or omission of the
defendants: (a) cannot be located upon the exercise of due diligence; (b) has been
transferred or sold to, or deposited with, a third party; (c) has been placed beyond the
jurisdiction of the court; (d) has been substantially diminished in value; or (e) has been
commingled with other property which cannot be divided without difficulty, the United
States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,
United States Code, Section 853(p), as incorporated by Title 28, United States Code,
Section 2461(c).

All pursuant to Title 18, United States Code, Sections 924(d) and 981, Title 21,
United States Code, Section 853, and Title 28, United States Code, Section 2461(c).

A TRUE BILL

s/f
FOREPERSON OF THE GRAND JURY
Date: June 26, 2018

ELIZABETH A. STRANGE
First Assistant United States Attorney
District of Arizona

s/
CHRISTINA WU COVAULT
Assistant U.S. Attorney

 

 
